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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 SARA AVIEL,

                   Plaintiff,

                        –v.–                         Case No. 25-cv-00778-LLA

 SERGIO GOR, et. al.,

                   Defendants.



                                DECLARATION OF SARA AVIEL

       1.      I am the president and CEO of the Inter-American Foundation (“IAF”). The

statements made in this declaration are based on my personal knowledge and my understanding of

information made available to me.

       2.      The IAF is an independent government corporation that was established by

Congress to invest in locally-led development across Latin America and the Caribbean. Until a

couple months ago, the IAF had over 400 active grantees in 27 countries. These local organizations

work to stabilize communities affected by transnational crime, foster sustainable economic

prosperity, provide alternatives to migration, and increase communities’ goodwill towards the

United States in the face of increasing pressures from actors like the People’s Republic of China.

       3.      On February 16, 2022, I had my final interview with the full Board of Directors for

the role of president and CEO of the IAF. On March 7, 2022, I received confirmation that the

Board of the IAF had appointed me to be the position. I began my service as president and CEO

of the IAF on April 24, 2022.
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       4.      Prior to becoming the president of the IAF, I was a Senior Advisor at the Center for

Strategic and International Studies, a bipartisan, non-profit research institution, and was the

Founder and Principal of Margalit Strategies. I previously served various roles in the Department

of the Treasury, the National Security Council, the World Bank Group, and the Office of

Management and Budget, and for international development organizations including Root Capital,

Mercy Corps and CARE. Leading the IAF was of particular interest to me because it uniquely

took advantage of my experience serving at the highest levels of government, implementing

community development programs, and mobilizing private sector investment.

       5.      On the morning of February 20, 2025, I learned that representatives from the

Department of Government Efficiency (“DOGE”) had requested a meeting for that afternoon. I

worked with other IAF personnel to prepare for the meeting on short notice by assembling

discussion points showing how the IAF had functioned in service of efficiency, and how the agency

was in alignment with the administration’s aims stated in the recently issued Executive Orders. I

sought to align the agency with the President’s stated policy instructions as permissible by law.

       6.      Our team then met with DOGE representatives Nate Cavanaugh and Ethan

Shaotran, who represented that they were based at the General Services Administration. They

informed us that their goal was to verify the IAF’s compliance with the President’s Executive

Orders. IAF staff members and I sought to facilitate Cavanaugh and Shaotran’s requests by

initiating the process of providing access to IAF systems, including grants management, human

resources, finance, and procurement systems, among others. Additionally, I attempted to share

information on the IAF’s compliance with the President’s Executive Orders and sought to highlight

the agency’s efforts to align with the administration’s priorities. The DOGE representatives




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showed minimal interest in the initiatives and instead indicated that their purpose was to focus on

obtaining access to the IAF’s systems.

       7.        The next day—Friday, February 21, 2025—other IAF personnel and I met again

with Cavanaugh and Shaotran, as well as Jacob Altik, a lawyer for the Executive Office of the

President. Altik stated his view that the minimum statutory requirements for the IAF entailed the

existence of a Board and a president, a presence in the District of Columbia, and a minimum level

of grants and contracts. He further indicated that DOGE intended to conduct a reduction in force

(“RIF”) of almost all employees and a termination of almost all grants and contracts.

       8.        The DOGE representatives asked me to contact the Board immediately to determine

if the Board was in alignment on this plan, and suggested that if the Board was not so aligned, the

Board would be terminated and replaced with individuals who were aligned with President

Trump’s vision. I explained that it would be difficult to convene the Board immediately, that

matters of this consequence required a Board meeting to discuss, and that the Board was subject

to certain legal requirements before convening. The DOGE representatives indicated their belief

that they did not need to call a Board meeting, and that they just needed a quick “yes-or-no” answer

from the Board on alignment. I asked that the specific request be put in writing. Shortly after the

meeting, at 4:27 p.m. on Friday, February 21, Cavanaugh sent an email to me and the IAF’s chief

operating officer from a GSA email address. The email, on which Altik and Shaotran were copied,

consisted of six bullet points, each of which contained a brief provision from the Foundation’s

originating statute in which Congress used the word “shall.” Exhibit C is a true and correct copy

of that email.

       9.        After the meeting, I heard from Congressional stakeholders from both parties, and

from both the Senate and House, that the IAF was legally restricted under the terms of Section




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7063 of Division F of the Further Consolidated Appropriations Act of 2024, Pub. L. No. 118-47

(2024) from initiating any reduction in the IAF’s functions without first providing notice to

Congressional appropriations committees. For example, on February 22 and 23, 2025, I heard

from senior Republican and Democratic staff for the Senate Appropriations Committee and the

House Appropriations Committee who noted that the IAF’s annual funding was already provided

to “cover only the minimum statutory requirements” and that if I were to take actions to reduce

staff, it “would be in contravention of the appropriations enacted into law.” I shared this

information with the IAF Board.

       10.     From February 21, through the weekend, and on Monday, February 24, I spoke

with each member of the IAF Board multiple times to analyze all options and identify the best

lawful path forward. I also heard from multiple congressional stakeholders and legal experts that

they believed the DOGE plan was unlawful and contrary to congressional intent.

       11.     On February 24, 2025, I spoke on the telephone with Cavanaugh and Altik. During

this call, the DOGE representatives claimed that with one exception, all members of the Board had

been terminated. I expressed surprise at this news, given that I had been in recent touch with each

Board member. They asked me to confirm that I would implement DOGE’s agenda in the absence

of a Board, and they threatened that the President would terminate me if I declined to do so. I

responded that I could not further respond to DOGE’s requests without more specificity as to those

requests in writing and the opportunity to determine whether they were legal. I further stated that

I was committed to always doing what was lawful, and to following all of my legal obligations

and responsibilities. The DOGE representatives asked me to sign a memorandum of understanding

agreeing that a DOGE representative would be detailed to the agency and would be permitted

access to the agency’s systems. I declined, stating that I did not believe I had the authority to do




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so, given my understanding that my Board still remained. After the call, I confirmed that no Board

member had yet received a termination letter from the President, or anyone else.

       12.     In the morning of February 26, 2025, I received notice from another member of the

IAF’s leadership team that the Senior Procurement Executive (SPE) at the Treasury Department

had been ordered to unilaterally “cancel all IAF contracts” by the close of business on Thursday,

February 27, 2025. These contracts included everything from the field contractors that provide

grantees with programmatic support and oversight, to contracts for basic services like email and

grant-management software.       That member of the IAF leadership team shared that the

Administrative Resource Center (ARC), which is part of the Treasury Department’s Bureau of the

Fiscal Service and supports the IAF’s procurement and finance functions, had not yet received a

request in writing from the SPE and were “concern[ed] about the legality of this.” Exhibit D is a

true and correct copy of the email that I received regarding this matter.

       13.     On the evening of February 26, 2025, I received an email from Trent Morse from

the Presidential Personnel Office informing me that, at the direction of President Trump, my

position at the IAF had been terminated, effectively immediately. Exhibit E is a true and correct

copy of that email.

       14.     My Leave and Earnings Statement that I received from the Government after my

purported firing shows that I accrued twenty-four (24) hours of work from the pay period

beginning February 24 and ending March 8, meaning that my employment was considered by the

Government to have terminated on February 26. Exhibit F is a true and correct copy of that

earnings statement.    Additionally, the Notice of Personnel Action that I received after my

termination was cancelled on April 4 similarly shows that the effective date of my termination was

February 26, 2025. Exhibit G is a true and correct copy of my Notification of Personnel Action.




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       15.     To my knowledge, I never received an email from Marocco stating that my position

had been terminated. I have never had any direct communication with Marocco.

       16.     I was provided with a subsequent email from Trent Morse, dated February 28, 2025,

stating to the IAF’s chief operating officer that President Trump had exercised a purported

authority to temporarily appoint Pete Marocco as the acting chairman and board member of the

IAF. Exhibit H is a true and correct copy of the email I subsequently found had been sent to an

email account that I have access to.

       17.     I have come to learn that following his purported appointment as acting Chair of

the Board of the IAF, Marocco held a closed-door meeting where he voted to appoint himself as

acting president and CEO of the IAF.

       18.     I have also come to learn in the evening of February 28, the Administrative

Resource Center received a directive authorized by Marocco, now representing himself to be the

president of the IAF, to terminate all IAF contracts. The ARC procurement team subsequently

informed a member of the IAF’s leadership team that they intended to “immediately” execute those

terminations, as authorized by the IAF’s “newly appointed President Peter Marocco.” Almost all

IAF contracts were ultimately terminated that Friday evening and into Saturday morning with the

exception of a handful, such as those for human resources and information technology. Exhibit K

is a true and correct copy of the email I subsequently found had been sent to an email account that

I have access to.

       19.     On March 2, 2025, members of the Board of the IAF wrote to me, stating their

intent to serve in their positions until new Board members were duly appointed and confirmed by

the Senate, consistent with statutory law. They communicated their view that, accordingly, the

governance of the IAF remained unaltered and in place, no duly qualified members of the Board




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had fired me, and that I remained the IAF’s president and CEO. The Board directed me to oversee

the continuation of the IAF’s regular operations, including monitoring and oversight of grantees.

Exhibit L is the letter that the IAF Board sent to me.

          20.   I have come to learn that on or around March 4, 2025, Marocco and DOGE began

implementing a RIF of the IAF’s employees. At that time, the IAF had 36 employees (not

including myself), although three had previously signed agreements to depart through voluntary

early retirement or the “Fork in the Road” deferred resignation offer. Thirty-three staff were issued

RIF notices, which were sent on behalf of Marocco and identified an official separation date of

Friday, April 4, 2025. Thirty staff were placed on administrative leave, shut out of the IT systems,

and barred from accessing Foundation’s offices. Three staff were not placed on administrative

leave so that they could assist in the winddown activities. My understanding is that Marocco and

the DOGE team later voided the RIF of one employee—Dominic Bumbaca, the chief information

security officer—and purportedly appointed him as CEO. In addition, the IAF’s website was taken

down.

          21.   In addition, on or about March 4, Marocco terminated almost all existing IAF

grants.     The only exception was a single grant that only has limited funds remaining—

approximately $66,000—that was set to expire soon. The IAF also continues to own a single

equity investment in a microfinance institution. Grantees were notified that their grants had been

canceled in a form letter sent on March 4, 2025, stating that the grant was “inconsistent with the

agency’s priorities,” and that “the President’s February 19, 2025 executive order mandates that the

IAF eliminate all non-statutorily required activities and functions.” The letter further instructed

grantees to “send remaining, unspent funds to the IAF, in accordance with the termination clause




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and local law, within fifteen (15) days or as soon as practicable.” Exhibit M is an example of the

letter sent to the grantees.

        22.     In direct response to DOGE’s actions, IAF’s philanthropic partners have asked that

their donations be returned.

        23.     Upon returning to the IAF offices after April 4, 2025, and after I had my access to

the system restored, I discovered, in addition to much of the information above, that on April 4,

2025, at 3:52PM EST, a team@iaf.gov account that was created for the exclusive use of the DOGE

representatives, Nate Cavanaugh and Ethan Shaotran, deactivated administrative access for

Dominic Bumbaca. Exhibit N is a spreadsheet excerpt taken from the IAF’s Google admin logs.

        24.     If I am illegally removed from my position of the IAF, I will suffer irreparable harm

in my ability to advance the commitment I made to this agency and its critical mission. Serving

as the president of the IAF uniquely leverages the blend of experience I have related to

international development, government service, and mobilizing private sector investment, and the

agency has no counterpart in the private sector. The IAF is a unique agency dedicated to investing

in community-led development while also advancing American strategic interests in the region.

As the president of IAF, I have the pleasure and responsibility of overseeing this mission and the

work of professional public servants every day. Nothing will compensate for my loss of this role.

        25.     I accepted my appointment to be the president of the IAF with the knowledge and

understanding that the position is established by federal law, through the IAF’s organic statute, 22

U.S.C. § 290f(l)(1). Further, I accepted my appointment with the knowledge that I can only be

removed from my position by the bipartisan Board of the IAF. The IAF’s statute prescribes that I

shall continue serving as president of the IAF until then. My termination contrary to the statute is

an irreparable injury.




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       26.     Unless permanently enjoined by this Court, Defendants will return to causing

immeasurable damage to the mission of the IAF if they illegally remove me from my position.

Though this damage to the IAF, and by implication to U.S. interests abroad, is irreparable in its

own right, I am similarly irreparably harmed by the damage done to the IAF because it defeats the

reason why I chose to join the IAF: to further the agency’s unique approach in reaching millions

of people in the Western Hemisphere. In other words, the harm to me and the harm to the IAF are

intertwined.



       I declare under penalty of perjury under 28 U.S.C. § 1746 that the foregoing declaration is

true and correct.

Dated this 18th day of April, 2025, and executed in Washington, D.C.



Signed:        /s/ Sara Aviel                       .

Print Name:    Sara Aviel                           .




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